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 DAVID L. ANDERSON (CABN 149604)
 United States Attorney
 SARA WINSLOW (DCBN 457643)
 Chief, Civil Division
 ELLEN LONDON (CABN 325580)
 Assistant United States Attorney
    450 Golden Gate Avenue, Box 36055
    San Francisco, California 94102
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    E-mail: ellen.london@usdoj.gov

 Attorneys for Defendant



                             UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF CALIFORNIA
                                     OAKLAND DIVISION

                                                  ) NO. 19 CIV. 01843 (KAW)
  THE CENTER FOR INVESTIGATIVE                    )
REPORTING and WILL EVANS,                         )
                                                  )
                                                  )
       Plaintiffs,                                )
                                                  )
  v.                                              )
UNITED STATES DEPARTMENT OF                       )
LABOR,                                            )
                                                  )
       Defendant.                                 )
                                                  )
                                                  )

                         DECLARATION OF D. LISSETTE GEÁN

       I, D. Lissette Geán, declare as follows:

   1. I am currently employed as the Acting Chief of Staff/Special Assistant to the Deputy

Director with the Office of Federal Contract Compliance Program (“OFCCP”) of the United States

Department of Labor (“DOL”). I have been employed as the Special Assistant to the Deputy

Director since May 2014, and became the Acting Chief of Staff in June 2019.
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   2. In my current position, I oversee OFCCP’s Freedom of Information Act (“FOIA”)

Program, including supervising the FOIA Coordinator, processing sensitive FOIA requests,

consulting with the Office of the Solicitor, developing and implementing OFCCP-specific FOIA

policy and procedures, recommending proactive disclosures, coordinating with regional FOIA

liaisons, and evaluating and reporting FOIA program performance.

   3. The purpose of this declaration is to provide the Court with information regarding: (1)

DOL’s response to the Plaintiffs’ FOIA request dated January 4, 2018, (hereinafter “the FOIA

request”); and (2) information supporting the information withheld from disclosure pursuant to

FOIA Exemptions 4. 5 U.S.C. § 522 (b)(4).

   4. This declaration consists of: (1) a listing of the relevant correspondence related to

Plaintiffs’ FOIA request; (2) the assurances of confidentiality DOL provides to companies that

submit EEO-1 reports (described below); (3) a description of the information withheld; and (4) the

justification for the withholding of the information under FOIA.

EEO-1 Reports

   5. The EEO-1 report is an annual compliance survey mandated by federal statute and

regulations. Federal government prime contractors or first-tier subcontractors subject to Executive

Order 11246, as amended, with 50 or more employees and a prime contract or first-tier subcontract

amounting to $50,000 or more must submit the EEO-1 report to the JRC, defined below.

   6. The companies use the EEO-1 survey to report the total number of employees categorized

by race/ethnicity, gender and job category.

   7. EEO-1 Consolidated (Type 2) reports are used by companies with multiple establishments

to report the number of their employees by race/ethnicity, gender and job category across their

establishments.


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   8. Because the Equal Employment Opportunity Commission (“EEOC”) also collects this

information for companies with 100 or more employees, OFCCP and EEOC formed the Joint

Reporting Committee (“JRC”) to administer the EEO-1 reporting system.

   9. The JRC web portal is managed by the EEOC who collects the information and shares with

OFCCP the reports of companies subject to the OFCCP’s jurisdiction.

Prior FOIA Request by Plaintiffs

   10. Back in August 2017, CIR requested the 2015 and 2016 EEO-1 reports of several

companies under FOIA. On behalf of DOL, I notified the companies of the FOIA request for their

EEO-1 forms pursuant to the confidential commercial information provisions of 29 C.F.R. § 70.26.

   11. Initially, in response to the April 2017 FOIA request, OFCCP withheld EEO-1 reports of

companies who objected to their release under FOIA exemption 4.

   12. In April 2018, CIR filed a complaint against DOL seeking disclosure of the requested

reports. DOL opted to settle the case by releasing the 2015 EEO-1 reports for six (6) companies to

avoid the cost of litigation and in light of considerations regarding the FOIA exemption 4 standard

at the time. See The Center for Investigative Reporting and Will Evans v. United States Department

of Labor, 3:18-cv-2008-JCS

Current FOIA Request

   13. On January 4, 2018, Plaintiffs submitted, via electronic mail, a FOIA request to DOL

seeking “[t]he EEO-1 Consolidated Report (Type 2), for 2016” for a list of fifty-five (55)

companies. See Exhibit 1.

   14. On January 17, 2018, on behalf of DOL, I sent Plaintiffs a letter acknowledging their

request and assigning the request tracking number 848514. In that letter, I also notified Plaintiffs

that when OFCCP receives requests for EEO-1 data:


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        [i]n accordance with 29 CFR § 70.26, OFCCP is required to notify submitters that their
        business information has been requested under the FOIA in order to give them an
        opportunity to object in writing to disclosure of any specified portion of the requested
        info1mation. We will send a final response to your request for EEO-1 data after the
        deadline expires for the submitters to object. Any objections to the release of the
        requested EEO-1 data will be evaluated by OFCCP on a case-by-case basis. See Exhibit 2

    15. On March 13, 2018, I informed Plaintiffs, via letter, that OFCCP identified only thirty-six

(36) of the named fifty-five (55) companies as federal contractors subject to OFCCP’s jurisdiction.

See Exhibit 3.

    16. On March 14, 2018, I notified those thirty-six (36) federal contractors (hereinafter “the

submitters”) of the Plaintiffs’ FOIA request for their EEO-1, Type 2 information pursuant to 29

C.F.R. § 70.26. See template at Exhibit 4.

    17. The March 14 letters informed the submitters that they had thirty (30) days from receipt of

the letter to object and provided, in relevant part, that:

        EEO-1 Reports are filed with the EEO-1 Joint Reporting Committee, which provides
        EEO-1 data to OFCCP. We believe the requested EEO-1 data may be released; however
        in accordance with the U.S. Department of Labor FOIA regulations at 29 CFR § 70.26,
        OFCCP is required to notify submitters of its intent to release business information. We
        are therefore giving you the opportunity to present objections to the disclosure of the
        requested EEO-1 data on grounds that specific information contained therein is exempt
        from mandatory disclosure such as Exemption 4 of the FOIA. Exemption 4 of the FOIA
        at 5 U.S.C. § 522 (b)(4) protects “...trade secrets and commercial or financial information
        obtained from a person [that is] privileged or confidential.” See Exhibit 4.

    18. The March 14 letters to the submitters further provided that their written objections must

include answers to questions posed in the letter. See Exhibit 4. The questions in the letter related

to the FOIA Exemption 4 standard before Food Marketing Institute v. Argus Leader Media, 139

S. Ct. 2365 (2019).

    19. The March 14, 2018 letter to the submitters also informed submitters that if they failed to

provide a written objection within the thirty (30) day period, DOL would release their EEO-1,

Type 2 data to the Plaintiffs – FOIA requesters. See Exhibit 4.

                                                   4
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    20. On April 18, 2018, I sent a second notice to the submitters who had not objected by then.

See Exhibit 5

    21. The April 18, 2018, letters referenced the March 14, 2018, letters and informed those

submitters that if they failed to object by close of business on May 31, 2018, their EEO-1 Type 2

data will be released to the Plaintiffs – FOIA requesters. See Exhibit 5.

    22. Also on April 18, 2018, I separately informed Plaintiffs that as of the date of that letter,

fourteen (14) companies objected to the release of their data on the grounds of FOIA Exemption

4. See Exhibit 6.

    23. By May 31, 2018, a total of twenty (20) of the thirty-six (36) companies submitted written

objections to DOL.

    24. Subsequently, on April 18, 2018, and on July 5, 2018, I sent each of the twenty (20)

objecting submitters a letter informing them that DOL “concurred with their assertions that their

EEO-1 reports were exempt from mandatory disclosure pursuant to Exemption 4 of FOIA.” See

Exhibit 7. As such, I informed these objectors that DOL will not release their EEO-1 Type 2 data

to the Plaintiffs. See Exhibit 7.

    25. On August 14, 2018, I sent a letter to the Plaintiffs confirming that one of companies in the

original FOIA request, Trimble Navigation, was removed from that FOIA request. See Exhibit 8.

    26. Also on August 14, 2018, I informed plaintiffs that fifteen (15) submitters had not objected

to the release of their EEO-1, Type 2 data. See Exhibit 8

    27. Subsequently, on August 16, 2018, via e-mail, on behalf of OFCCP, I released the EEO-1

Type 2 data for those fifteen (15) submitters who failed to timely object to the release of their

EEO-1 data by May 31, 2018. See Exhibit 9.




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   28. On February 22, 2019, I informed Plaintiffs that OFCCP would delay issuing a final

response to this FOIA request pending the outcome of the Supreme Court decision in Food Market

Institute v. Argus Leader Media. See Exhibit 10.

   29. On March 1, 2019, Plaintiffs submitted an administrative appeal pursuant to 29 C.F.R. §

70. See Exhibit 11.

   30. On March 21, 2019, DOL acknowledged receipt of their appeal.

   31. On April 9, 2019, plaintiffs filed this action.

   32. Subsequent to that filing, additional companies decided to release the information.

Assurances of Privacy

   33. OFCCP considers all EEO-1 reports, including the Consolidated (Type 2) reports, to

contain potentially confidential commercial information subject to the notice requirements under

29 C.F.R. § 70.26.

   34. OFCCP, via the JRC, explicitly assures all EEO-1 submitters with federal contracts that

their reports will be treated as confidential commercial information to the extent permitted by law.

   35. Federal contractors who are required to submit EEO-1 reports are notified of this

assurance on the JRC web site. See EEO-1 Joint Reporting Committee, EEO-1, Frequently

Asked Questions and Answers, (About the EEO-1 Survey, Question No. 2), available at

https://www.eeoc.gov/employers/eeo1survey/faq.cfm; EEO-1 Joint Reporting Committee, EEO-

1 Instruction Booklet 1, Page 4, available at

https://www.eeoc.gov/employers/eeo1survey/upload/instructions_form.pdf. Specifically, the

booklet states “OFCCP will notify contractors of any Freedom of Information Act (FOIA)

requests that are made to obtain any of the data provided on the EEO-1 report, and will protect




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the confidentiality of EEO-1 data to the maximum extent possible consistent with FOIA and the

Trade Secrets Act.”

    36. It is the practice of OFCCP not to release data where the contractor is still in business,

and the contractor indicates, and through the Department of Labor review process, it is

determined, that the data is confidential and sensitive and that the release of data would subject

the contractor to commercial harm. 41 C.F.R. § 60-1.20(g). That regulation explicitly assures

contractors, subject to an OFCCP compliance evaluation, that any information obtained as part

of that process is exempt from public disclosure under FOIA. Id.

    37. The statements contained in this declaration are based upon my personal knowledge, upon

information provided to me in my official capacity, and upon conclusions and determinations

reached and made in accordance therewith.

    Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true and

correct hereto.

       Executed this 23 day of August 2019.




                                                       ________________________________

                                                       D. Lissette Geán
                                                       Acting Chief of Staff / Special Assistant
                                                       Office of Federal Contract Compliance
                                                       Program
                                                       U.S. Department of Labor
                                                       200 Constitution Avenue, NW
                                                       Washington DC 20210




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        EXHIBIT 1
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Karamoko, Arginia - SOL

From:                                 Will Evans <wevans@revealnews.org>
Sent:                                 Thursday, January 04, 2018 3:57 PM
To:                                   FOIARequests
Subject:                              FOIA Request - OFCCP


Dear FOIA Officer,

Under the Freedom of Information Act, I am requesting a copy of the following records from OFCCP:

- The EEO-1 Consolidated Report (Type 2), for 2016, for the following companies:

Advanced Micro Devices
Agilent Technologies
Align Technology
Applied Materials
Arista Networks
Bloom Energy
Box Inc.
Cadence Design Systems
Cloudflare
Docusign
Dropbox
Equinix
Eventbrite
Fair Isaac
Fitbit
Gilead Sciences
Github
Intuitive Surgical
Juniper Networks
KLA-Tencor
Lam Research Corporation
Linear Technology
Maxim Integrated Products
Netflix
Oracle
Palantir
Palo Alto Networks
Pandora Media
PayPal
Penumbra
RingCentral
ServiceNow
ShoreTel
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Slack Technologies
SolarCity
Splunk Inc
Stripe Inc.
Sunpower
SurveyMonkey
Symantec
Synnex
Synopsys
Tesla
TiVo
Trimble Navigation
Twilio
Varian Medical Systems
Verifone
VMware
WageWorks
Workday
Xilinx
Yahoo Inc.
Yelp
Zendesk

Please note, as discussed with OFCCP's FOIA officer, this request should not be consolidated with previous requests.

Also, please provide interim responses and release records on a rolling basis.

I am a representative of the news media as a reporter with Reveal from The Center for Investigative Reporting, a non-profit investigative
journalism organization. This request is made as part of news gathering and not for a commercial use. I respectfully ask that you waive fees
related to this request. Please notify me of any charges before fulfilling this request.

Please contact me with any questions at 510-809-2209 or wevans@revealnews.org

Thank you for your attention to this request.

Sincerely,
Will Evans
Reveal / The Center for Investigative Reporting
1400 65th, Suite 200
Emeryville, CA 94608

--
Will Evans
reporter
o: 510-809-2209

     Right-click here to download pictures. To help protect y our priv acy , Outlook prev ented automatic download of this picture from the Internet.




www.revealnews.org


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          EXHIBIT 4
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          [Click here and type name]
          [Click here and type recipient’s title]
          [Click here and type company name]
          [Click here and type company’s address]
          [Click here and type company’s city, state, and zip code]

          RE: Business Information Submitter Notification – FOIA Request Tracking No. 848514

          Dear [Click here and type name]:

          The Office of Federal Contract Compliance Programs (OFCCP) received a Freedom of Information
          Act (FOIA) request from Mr. Will Evans of The Center for Investigative Reporting, seeking the
          EEO-1 Consolidated Report (Type 2) submitted by your company for the year 2016. Please refer to
          the above-referenced tracking number in any future correspondence regarding this request.

          EEO-1 Reports are filed with the EEO-1 Joint Reporting Committee, which provides EEO-1 data
          to OFCCP. We believe the requested EEO-1 data may be released; however, in accordance with
          the U.S. Department of Labor FOIA regulations at 29 CFR § 70.26, OFCCP is required to notify
          submitters of its intent to release business information. We are therefore giving you the
          opportunity to present objections to the disclosure of the requested EEO-1 data on grounds that
          specific information contained therein is exempt from mandatory disclosure such as Exemption 4
          of the FOIA. Exemption 4 of the FOIA at 5 U.S.C. § 522 (b)(4) protects “...trade secrets and
          commercial or financial information obtained from a person [that is] privileged or confidential.”

          If you do not have a copy of the reports you submitted, please contact us and we can send you a
          link to download the data from a secure server; or we can email you the file in an encrypted
          format.

          Written objections must be received by OFCCP within thirty (30) of the date of your receipt of
          this letter. OFCCP will evaluate your objections and provide written notification of our final


 CONCURRENCES:


              Initials
           Last Name      Travis       Andersen     Gean
                 Date
       Office Symbol     OFCCP/FO    OFCCP/FOIA   OFCCP/FO
OFFICIAL FILE COPY
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                                                                                       FOIA 848514
                                                                                             Page 2


decision regarding the disclosure of your EEO-1 data. When writing your objection letter, it is
extremely important that you be as specific as possible when explaining why you believe
disclosure of the EEO-1 data would be competitively harmful. Any arguments against disclosure
should cover, at a minimum, the following points:

   1. What specific information do you consider to be a trade secret or commercial
      information?

   2. How would disclosure of this information be valuable to your competitors? (Indicate the
      nature of the harm to your competitive position that would likely result from disclosure of
      this information.)

   3. To what extent is this information known to the public or your competitors in products,
      articles, patents, or other means? If it is known, why would release of the information
      nevertheless be competitively harmful?

   4. What steps have been taken to protect the confidentiality of the data contained in your
      EEO-1 Reports?

Should you choose to submit objections you may fax them to (202) 693-1305, by email at
OFCCP_NO_FOIA@dol.gov, or mail them to the following address:

       FOIA Coordinator
       Office of Federal Contract Compliance Programs
       U.S. Department of Labor
       200 Constitution Avenue, NW, Room C3325
       Washington, DC 20210

If you do not respond within thirty (30) of the date of your receipt of this letter, we will release
the enclosed EEO-1 data to the FOIA requester. Should you have questions regarding the status
of your request, please contact this office at (202) 693-0101 or by email at
OFCCP_NO_FOIA@dol.gov.

Sincerely,



D. Lissette Geán
Special Assistant
                     Contractor         Title     Case 4:19-cv-01843-KAW
                                                    First Name
                                                           Last Name     Document
                                                                             Title 24-11 Filed 08/23/19    Page 22 of 109
                                                                                                      Address                                                                                             City        State   Zip
Fitbit                            Mr.           Andy             Missan              Tests Used
                                                                                   Executive       in Testing
                                                                                             Vice President     Cases Completed
                                                                                                            and General Counsel Before 9/1/2016
                                                                                                                                            405 Howard St,                            San Francisco              CA           94105
Gilead Sciences                   Mr.           Brett A.         Pletcher          General Counsel                                          333 Lakeside Dr,                          Foster City                CA            94404
Oracle Corporation                Ms.           Dorian           Daley             Vice President, General Counsel and Secretary                500 Oracle Parkway                    Redwood City               CA           94065
Palantir Technologies Inc.        Mr.           Matt             Long              Legal Ninja & General Counsel                                100 Hamilton Avenue, Suite 300        Palo Alto                  CA           94301
Pandora Media                     Mr.           Steve            Bene              General Counsel                                              2101 Webster St Suite 1650            Oakland                    CA            94612
PayPal, Inc.                      Ms.           Wanji            Walcott           Senior Vice President, General Counsel                       2211 North First Street               San Jose                   CA           95131
Slack Technologies                Mr.           Gabriel          Stern             Director of Legal at Slack                                   155 5th Street 6th Floor              San Francisco              CA           94103
Splunk Inc.                       Mr.           Leonard          Stein             Senior Vice President, Corporate Affairs and Chief Legal O270 Brannan Street                       San Francisco, CA 94107    CA           94107
Synnex                            Mr.           Simon            Leung             General Counsel and Corporate Secretary                              3900 Stonecroft Blvd # M,         Chantilly              VA            20151
VMware                            Ms.           Amy              Fliegelman Olli   General Counsel                                                      3401 Hillview Avenue - Building A Palo Alto              CA           94304
Advanced Micro Devices            Mr.            Harry A.         Wolin            General Counsel                                                      One AMD Place                     Sunnyvale              CA           94089
Agilent Technologies              Mr.           Michael           Tang             Senior Vice President, General Counsel and Secretary                 5301 Stevens Creek Boulevard Santa Clara                 CA           95051
Applied Materials                 Mr.           THOMAS           F. LARKINS        Senior Vice President, General Counsel and Corporate Secretary       3050 Bowers Avenue                Santa Clara            CA           95054
Bloom Energy                      Mr.           Shawn            Soderberg         Executive Vice President, General Counsel and Secretary              1299 Orleans Drive                Sunnyvale              CA           94089
Box Inc.                          Mr.           Peter            McGoff            Senior Vice President, General Counsel & Corporate Secretary         900 Jefferson Avenue              Redwood City           CA           94063
Cadence Design Systems            Mr.           Jim              Cowie             SENIOR VICE PRESIDENT, GENERAL COUNSEL AND SECRETARY                 2655 Seely Avenue, Building 5 San Jose                   CA           95134
Docusign                          Mr.           Reggie           Davis             General Counsel & Chief Legal Officer                                221 Main Street, Suite 1000 San Francisco                CA           94105
Equinix                           Ms.           Brandi           Galvin Morandi    Chief Legal Officer, General Counsel & Secretary                     One Lagoon Drive                  Redwood City           CA           94065
Fair Isaac                        Mr.           Mark              Scadina          Executive Vice President, General Counsel and Corporate Secretary 181 Metro Drive, Suite 700           San Jose               CA           95134
Intuitive Surgical                Mr.           Mark             Meltzer           Senior Vice President, General Counsel and Chief Compliance Officer. 1020 Kifer Road                   Sunnyvale              CA           94086
Juniper Networks                  Mr.           Brian             Martin           Senior vice president, general counsel and corporate secretary       1133 Innovation Way               Sunnyvale              CA           94089
KLA-Tencor                        Mr.           Brian             Martin           Senior Vice President, General Counsel and Corporate Secretary       One Technology Drive              Milpitas               CA           95035
Maxim Integrated Products         Mr.           Edwin             Medlin           Senior Vice President, General Counsel, and Chief Compliance Officer 160 Rio Robles                    San Jose               CA           95134
Palo Alto Networks                Mr.           Jeff             TRUE              Senior vice president, general counsel and secretary                 3000 Tannery Way                  Santa Clara            CA           95054
Penumbra                          Mr.           Robert            Evans            Executive Vice President, General Counsel and Secretary              One Penumbra Place                Alameda                CA           94502
ServiceNow                        Mr.           Robert            Specker          General Counsel and Secretary                                        2225 Lawson Lane                  Santa Clara            CA           95054
SolarCity                         Mr.           Seth             Weissman          General Counsel and Secretary                                        3055 Clearview Way                San Mateo              CA           94402
Sunpower                          Mr.           Ken               Mahaffey         Executive Vice President and General Counsel                         77 Rio Robles                     San Jose               CA           95134
Synopsys                          Mr.           Rick             Runkel            General Counsel                                                      690 East Middlefield Road         Mountain View          CA           94043
Trimble Navigation                Mr.           James             Kirkland         Senior Vice President General Counsel                                935 Stewart Drive                 Sunnyvale              CA           94085
Varian Medical Systems            Mr.           John              Kuo              Corporate Vice President, General Counsel and Secretary              3100 Hansen Way                   Palo Alto              CA           94304
Verifone                          Mr.           Albert           Liu               Senior Vice President and General Counsel                            88 West Plumeria Drive            San Jose               CA           95134
WageWorks                         Ms.           Kim              Wilford           Senior Vice President, General Counsel & Corporate Secretary         1100 Park Place, 4th Floor        San Mateo              CA           94403
Xilinx                            Mr.           Scott            Hover-Smoot       Senior Vice President, General Counsel and Secretary                 2100 Logic Drive                  San Jose               CA           95124
Yahoo Inc.                        Mr.           Arthur            Chong            General Counsel                                                      701 First Avenue                  Sunnyvale              CA           94089
Zendesk                           Mr.           John              Geschke          General Counsel                                                      1019 Market Street                San Francisco          CA           94103
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U.S. Department of Labor              Office of Federal Contract
                                      Compliance Programs
                                      200 Constitution Avenue, N.W.
                                      Washington, D.C. 20210




   APR 18 2018




Mr. Harry A. Wolin
General Counsel
Advanced Micro Devices
One AMD Place
Sunnyvale, CA 94089

RE: Business Information Submitter Notification-FOIA Request Tracking No. 848514

Dear Mr. Wolin:

The Office of Federal Contract Compliance Programs (OFCCP) received a Freedom of
Information Act (FOIA) request from Mr. Will Evans of The Center for Investigative Reporting,
seeking EEO-1 Reports submitted by your company. On March 12, 2018, this office sent your
company a letter giving you 30 days from the receipt of the letter to object to the release of the
EEO-1 data per 29 CFR § 70.26.

To date, no response has been received from your office. Given the delay in your office's
response, OFCCP intends to release the data by COB May 31, 2018, unless we receive an
objection from your office.

Should you have questions regarding the status of your request, please contact this office at (202)
693-0101 or by email at OFCCP_NO_FOIA@dol.gov.

Sincerely,


SJ-�-4
D. Lissette Gean
Special Assistant
  Case 4:19-cv-01843-KAW Document 24-11 Filed 08/23/19 Page 25 of 109




APR 18 2018
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U.S. Department of Labor              Office of Federal Contract
                                      Compliance Programs
                                      200 Constitution Avenue, N.W.
                                      Washington, D.C. 20210




   APR 18 2018




Mr. Jim Cowie
Senior Vice President, General Counsel, and Secretary
Cadence Design Systems
2655 Seely Avenue, Building 5
San Jose, CA 95134

RE: Business Information Submitter Notification - FOIA Request Tracking No. 848514

Dear Mr. Cowie:

The Office of Federal Contract Compliance Programs (OFCCP) received a Freedom of
Information Act (FOIA) request from Mr. Will Evans of The Center for Investigative Reporting,
seeking EEO-1 Reports submitted by your company. On March 12, 2018, this office sent your
company a letter giving you 30 days from the receipt of the letter to object to the release of the
EEO-I data per 29 CFR § 70.26.

To date, no response has been received from your office. Given the delay in your office's
response, OFCCP intends to release the data by COB May 31, 2018, unless we receive an
objection from your office.

Should you have questions regarding the status of your request, please contact this office at (202)
693-0101 or by ema1l at OFCCP _NO_FOIA@dol.gov.




JJ.t��
Sincerely,



D. Lissette Gean
Special Assistant
     Case 4:19-cv-01843-KAW Document 24-11 Filed 08/23/19 Page 27 of 109

U.S. Department of Labor              Office of Federal Contract
                                      Compliance Programs
                                      200 Constitution Avenue, N.W.
                                      Washington, D.C. 20210




   APR 18 2018




Ms. Brandi Galvin Morandi
Chief Legal Officer, General Counsel, & Secretary
Equinix
One Lagoon Drive
Redwood City, CA 94065

RE: Business Information Submitter Notification - FOIA Request Tracking No. 848514

Dear Ms. Galvin Morandi:

The Office of Federal Contract Compliance Programs (OFCCP) received a Freedom of
Information Act (FOIA) request from Mr. Will Evans of The Center for Investigative Reporting,
seeking EEO-1 Reports submitted by your company. On March 12, 2018, this office sent your
company a letter giving you 30 days from the receipt of the letter to object to the release of the
EEO-1 data per 29 CFR § 70.26.

To date, no response has been received from your office. Given the delay in your office's
response, OFCCP intends to release the data by COB May 31, 2018, unless we receive an
objection from your office.

Should you have questions regarding the status of your request, please contact this office at (202)
693-0101 or by email at OFCCP _NO_FOIA@dol.gov.




Special Assistant
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U.S. Department of Labor              Office of Federal Contract
                                      Compliance Programs
                                      200 Constitution Avenue, N.W.
                                      Washington, D.C. 20210




   APR 18 2018




Mr. Brett A. Pletcher
General Counsel
Gilead Sciences
333 Lakeside Dr,
Foster City, CA 94404

RE: Business Information Submitter Notification - FOIA Request Tracking No. 848514

Dear Mr. Pletcher:

The Office of Federal Contract Compliance Programs (OFCCP) received a Freedom of
Information Act (FOIA) request from Mr. Will Evans of The Center for Investigative Reporting,
seeking EEO-1 Reports submitted by your company. On March 12, 2018, this office sent your
company a letter giving you 30 days from the receipt of the letter to object to the release of the
EEO-1 data per 29 CFR § 70.26.

To date, no response has been received from your office. Given the delay in your office's
response, OFCCP intends to release the data by COB May 31, 2018, unless we receive an
objection from your office.

Should you have questions regarding the status of your request, please contact this office at (202)
693-0101 or by email at OFCCP _NO_FOIA@dol.gov.

Sincerely,


JJ.LA�
D. Lissette Gean
Special Assistant
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U.S. Department of Labor              Office of Federal Contract·
                                      Compliance Programs
                                      200 Constitution Avenue, N.W.
                                      Washington, D.C. 20210




   APR 18 2018




Ms. Teri Little
Senior Vice President, General Counsel, and Corporate Secretary
KLA-Tencor
One Technology Drive
Milpitas, CA 95035

RE: Business Information Submitter Notification-FOIA Request Tracking No. 848514

Dear Ms. Little:

The Office of Federal Contract Compliance Programs (OFCCP) received a Freedom of
Information Act (FOIA) request from Mr. Will Evans of The Center for Investigative Reporting,
seeking EEO-1 Reports submitted by your company. On March 12, 2018, this office sent your
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693-0101 or by email at OFCCP_NO_FOIA@dol.gov.

Sincerely,

ell��
D. Lissette Gean
Special Assistant
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                                      200 Constitution Avenue, N.W.
                                      Washington, D.C. 20210




   APR 18 2018




Mr. Robert Evans
Executive Vice President, General Counsel, and Secretary
Penumbra
One Penumbra Place
Alameda, CA 94502

RE: Business Infmmation Submitter Notification-FOIA Request Tracking No. 848514

Dear Mr. Evans:

The Office of Federal Contract Compliance Programs (OFCCP) received a Freedom of
Information Act (FOIA) request from Mr. Will Evans of The Center for Investigative Reporting,
seeking EEO-1 Reports submitted by your company. On March 12, 2018, this office sent your
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J)i��
Sincerely,



D. Lissette Gean
Special Assistant
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U.S. Department of Labor              Office of Federal Contract
                                      Compliance Programs
                                      200 Constitution Avenue, N.W.
                                      Washington, D.C. 20210




   APR 18 2018




Mr. Robert Specker
General Counsel and Secretary
ServiceNow
2225 Lawson Lane
Santa Clara, CA 95054

RE: Business Information Submitter Notification - FOIA Request Tracking No. 848514

Dear Mr. Specker:

The Office of Federal Contract Compliance Programs (OFCCP) received a Freedom of
Information Act (FOIA) request from Mr. Will Evans of The Center for Investigative Reporting,
seeking EEO-1 Reports submitted by your company. On March 12, 2018, this office sent your
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693-0101 or by email at OFCCP_NO_FOIA@dol.gov.

Sincerely,

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D. Lissette Gean
Special Assistant
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                                      200 Constitution Avenue, N.W.
                                      Washington, D.C. 20210




   APR 18 2018




Mr. Simon Leung
General Counsel and Corporate Secretary
Synnex
3900 Stonecroft Blvd# M,
Chantilly, VA 20151

RE: Business Information Submitter Notification-FOIA Request Tracking No. 848514

Dear Mr. Leung:

The Office of Federal Contract Compliance Programs (OFCCP) received a Freedom of
Information Act (FOIA) request from Mr. Will Evans of The Center for Investigative Reporting,
seeking EEO-1 Reports submitted by your company. On March 12, 2018, this office sent your
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JJ.1��/
Sincerely,



D. Lissette Gean
Special Assistant
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U.S. Department of Labor              Office of Federal Contract
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                                      200 Constitution Avenue, N.W.
                                      Washington, D.C: 20210




   APR 18 2018




Mr. John Kuo
Corporate Vice President, General Counsel, and Secretary
Varian Medical Systems
3100 Hansen Way
Palo Alto, CA 94304

RE: Business Information Submitter Notification-FOIA Request Tracking No. 848514

Dear Mr. Kuo:

The Office of Federal Contract Compliance Programs (OFCCP) received a Freedom of
Information Act (FOIA) request from Mr. Will Evans of The Center for Investigative Reporting,
seeking EEO-1 Reports submitted by your company. On March 12, 2018, this office sent your
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objection from your office.

Should you have questions regarding the status of your request, please contact this office at (202)
693-0101 or by email at OFCCP_NQ_FOIA@dol.gov.

Sincerely,



cfi,e��
 Special Assistant
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U.S. Department of Labor              Office of Federal Contract
                                      Compliance Programs
                                      200 Constitution Avenue, N.W.
                                      Washington, D.C. 20210




   APR 18 2018




Ms. Kim Wilford
Senior Vice President, General Counsel, and Corporate Secretary
WageWorks
1100 Park Place, 4th Floor
San Mateo, CA 94403

RE: Business Info1mation Submitter Notification-FOIA Request Tracking No. 848514

Dear Ms. Wilford:

The Office of Federal Contract Compliance Programs (OFCCP) received a Freedom of
Information Act (FOIA) request from Mr. Will Evans of The Center for Investigative Reporting,
seeking EEO-I Reports submitted by your company. On March 12, 2018, this office sent your
company a letter giving you 30 days from the receipt of the letter to object to the release of the
EEO-I data per 29 CFR § 70.26.

To date, no response has been received from your office. Given the delay in your office's
response, OFCCP intends to release the data by COB May 31, 2018, unless we receive an
objection from your office.

Should you have questions regarding the status of your request, please contact this office at (202)
693-0101 or by email at OFCCP_NO_FOIA@dol.gov.

Sincerely,

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o!J-��
D. Lissette Gean
Special Assistant
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U.S. Department of Labor              Office of Federal Contract
                                      Compliance Programs
                                      200 Constitution Avenue, N.W.
                                      Washington, D.C. 20210




       APR 18 2018




. Mr. Arthur Chong
  General Counsel
  Yahoo Inc.
  701 First Avenue
  Sunnyvale, CA 94089
   E
R : Business Information Submitter Notification-FOIA Request Tracking No. 848514

Dear Mr. Chong:

The Office of Federal Contract Compliance Programs (OFCCP) received a Freedom of
Information Act (FOIA) request from Mr. Will Evans of The Center for Investigative Reporting,
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Should you have questions regarding the status of your request, please contact this office at (202)
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Sincerely,


j)�P/4:
   -==
D. Lissette Gean
Special Assistant
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U.S. Department of Labor              Office of Federal Contract
                                      Compliance Programs
                                      200 Constitution Avenue, N.W.
                                      Washington, D.C. 20210




   APR 18 2018




Mr. Gabriel Stern
Director of Legal
Slack Technologies
155 5th Street 6th Floor
San Francisco, CA 94103

RE: Business Information Submitter Notification - FOIA Request Tracking No. 848514

Dear Mr. Stern:

The Office of Federal Contract Compliance Programs (OFCCP) received a Freedom of
Info1mation Act (FOIA) request from Mr. Will Evans of The Center for Investigative Reporting,
seeking EEO-1 Reports submitted by your company. On March 12, 2018, this office sent your
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Should you have questions regarding the status of your request, please contact this office at (202)
693-0101 or by email at OFCCP_NO_FOIA@dol.gov.

Sincerely,



D. Lissette Gean
Special Assistant
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Attachment A


Companies not identified      Companies that objected to     Companies to be discussed
as federal contractors (19)   the release of their data on   in a later response (22)
                              the grounds of FOIA
                              Exemption 4 (14)

Align Technology              Agilent Technologies           Advanced Micro Devices
Arista Networks               Applied Materials              Bloom Energy
Cloudflare                    Docusign                       Box Inc.
Dropbox                       Fitbit                         Cadence Design Systems
Eventbrite                    Juniper Networks               Equinix
Github                        Maxim Integrated Products      Fair Isaac
Lam Research Corporation      Oracle Corporation             Gilead Sciences
Linear Technology             Palantir Technologies Inc.     Intuitive Surgical
Netflix                       Pandora Media                  KLA-Tencor
RingCentral                   Splunk Inc.                    Palo Alto Networks
ShoreTel                      Synopsys                       PayPal, Inc.
Stripe Inc.                   Verifone                       Penumbra
SurveyMonkey                  Xilinx                         ServiceNow
Symantec                      Zendesk                        Slack Technologies
Tesla                                                        SolarCity
TiVo                                                         Sunpower
Twilio                                                       Synnex
Workday                                                      Trimble Navigation
Yelp                                                         Varian Medical Systems
                                                             VMware
                                                             WageWorks
                                                             Yahoo Inc.
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          EXHIBIT 9
    Case 4:19-cv-01843-KAW Document 24-11 Filed 08/23/19 Page 73 of 109


From:          OFCCP NO FOIA
To:            Will Evans (wevans@revealnews.org)
Subject:       RE: FOIA Evans 848514 third response
Date:          Thursday, August 16, 2018 10:30:00 AM
Attachments:   Advanced Micro Devices Inc FY2016.xlsx
               Bloom Energy FY2016.xlsx
               Cadence Design Systems FY2016.xlsx
               Fair Isaac FY2016.xls
               Palo Alto Networks FY2016.xlsx
               PayPal FY2016.xlsx
               Penumbra FY2016.xlsx
               ServiceNow FY2016.xlsx
               Slack Technologies FY2016.xlsx
               SolarCity FY2016.xlsx
               Synnex FY2016.xlsx
               Varian Medical Systems FY2016.xlsx
               VMware FY2016.xlsx
               WageWorks FY2016.xlsx
               Yahoo Inc. FY2016.xlsx
               FOIA Evans 848514 third response.pdf
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        EXHIBIT                                  11
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 Solicitor of Labor
 Division of Management and Administrative Legal Services
 U.S. Department of Labor
 200 Constitution Avenue, NW Room N2420
 Washington, DC 20210


 March 1, 2019

 VIA U.S. MAIL AND ELECTRONIC DELIVERY

 Re: Freedom of Information Act Appeal FOIA No. 848514


 To Whom It May Concern:

         The Center for Investigative Reporting (“CIR”) hereby writes to appeal on behalf
 of the requester, Mr. Will Evans pursuant to the Freedom of Information Act, 5 U.S.C. §
 552 from the denial sent by the Department of Labor’s Office of Federal Contract
 Compliance Programs (“OFCCP”) on February 22, 2019, involving disclosure of federal
 contractor employment diversity reports.

    I.      Factual Background

         The OFCCP collects from federal contractors Employer Information (“EEO-1”)
 forms, a survey conducted annually under the authority of Title VII of the Civil Rights
 Act of 1964, 42 U.S.C. 2000e, et. seq., as amended. See EEOC, EEO-1 Instruction
 Booklet (2018), available at http://bit.ly/2ySvqzB. According to Title VII, all
 employers in the United States with 15 or more employees are required to keep
 employment records and certain large employers are required to annually file an EEO-1
 report based on those records. Id.

        EEO-1 reports are permitted to be disclosed and not confidential. While the
 Equal Employment Opportunity Commission (“EEOC”) is prohibited from disclosing
 EEO-1 reports under Title VII of the Civil Rights Act of 1964, this restriction does not
 apply to OFCCP and its employees. EEOC, EEO-1 Instruction Booklet, supra.
 Moreover, “[t]he confidentiality provision of…Title VII” does not apply to federal
 government contractors. Id. And as the EEOC suggests on its website, these records
 may be made public. It writes, “[m]any years ago, the courts ruled that the prohibition
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